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UNITED STATES DISTRICT COURT OF

SOUTHERN DISTRICT OF NEW YORK

JENIERE K. EVANS 14-CV-3212 (VEC) (DCF)
PLAINTIEF, “AMENDED COMPLAINT”
-AGAINST-
USDC SDNY
DOCUMENT
NEW YORK CITY ELECTRONICALLY FILED
DOC #: . i
OFFICER VIET, DANG —
DATE FILED:S] {1/2013
SARGENT DONALD, GANNON eR
DEFENDANTS,

On the evening of July 4" , 2013 at approximately 10:00p.m., | the plaintiff Jeniere k. Evans, was on the
stoop of (845 east 215" street bronx, ny) at the house | resided in at the time, we were having a family
cookout, and | was getting ready to go back to the program | signed into for my own reasons.

A patrol car with three officers stopped in front of my house, they parked in the front of a water pump,
after parking they sat in the car contemplating, my guess would be on if they should get out or, not,
they contemplated for about 5- 10 minutes, maybe longer, before actually getting out.

When they finally got out the car, an officer by the name of Viet Dang, which | did not know at the time,
approached me at the stoop of my property, his partners were not far behind. His first question was
pertaining to the plastic cups that were laying around the stoop (3 at most). Then | was asked if | was
drinking, which | replied “ first of all why are you questioning me on private property” ?, he challenged
my question with the fact that a portion of the front of my sneakers were partially on public sidewalk,
and the other part was on my property, but that was only when | got up to talk to him, because he
started questioning me, he claim that gave him the right to pursue me.

The conversation went on for about 15 minutes, and when he saw we could never reach common
ground , | was asked to give up some kind of identification, when | refused on the grounds that my

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SUING FOR:

@ ILLEGAL DETENTION
® FALSE ARREST

® FALSE IMPRISONMENT

© MALICIOUS PROSECUTION

© DUE PROCESS

e DENIAL SPEEDY TRIAL

® HARRASSMENT/ABUSE OF POWER
® RACIAL PROFILING

@ PAIN & SUFFERING

® DEFAMATION OF CHARACTER

e@ POLICE MISCONDUCT

@ EXCESSIVE FORCE

® FALSE CHARGES

© LOSS WAGES/WORKER’S COMP.

@ EMOTIONAL DISTRESS

@ —SPOILATION OF EVIDENCE

@  CRUEL& UNUSUAL PUNISHMENT

@  TREPASS

EVIDENCE:

PICTURES OF WRIST & FACE
FOOTAGE OF INCIDENT
MEDICAL RECORDS

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(LEXIS NEXIS) SCOPE & DOCUIMENTED LAW, RELATED CASES
PAREOLE HEARING (OFF. DANG’S TESTIMONY) ALL AVAILABLE UPON REQUEST

DOCUMENTATION FROM ARREST TO RELEASE

IERE K. EVANS

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BRONX NEW YORK 10453
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constitutional rights were being violated, | was ordered a second time , and then threatened that they
would do things the hard way, if | did not comply, so | gave up my new York state benefit card.

Once he received it, he went back to the patrol car, and ran my name, and came back with the fact that |
had two bench warrants, | was asked to turn around and put my hands behind my back, | complied.

Once. was in cuffs, the officer started searching cups on the stoop, he then starts writing a citation, |
then reply “ go ahead and write a citation it’s only $25 anyway “. | threatened to sue afterwards too.
Shortly after the commotion started my family came to the front of the house, they started questioning
the police about why | was being arrested when they did not get any answers they started pulling out
cameras, phones, etc. their right to film the situation was not humbly invited (as seen on film).

| was forced from the rear of the patrol car to the hood of the truck parked behind it, where | was
slammed on my chest, then | was dragged in the street, roughed up briefly by the arresting officer, and
some of the back-up (4-7 officers), then they dragged me across the street , where they slammed me on
the ground, on my chest. They put shackles on me shortly after. | was picked straight up in the air, and
slammed on my chest , again on the floor of the paddy wagon, off. Dang, and another officer jumped in
the paddy wagon officer dang sat on me first, the other shortly after, | wound up being assaulted in the
wagon, because of them sitting on me it was hard to breath.

While in the paddy wagon officer dang put two fingers in my neck in attempt to knock me out, even
when | complained about breathing he did not let up, he kept it there for the remainder of the trip.
When we got to the precint | was not allowed to walk, | was carried in, and thrown in a cell for hours,
with the cuffs, and shackles on very tight, | did not know about new charges until | saw my lawyer. |

AFTERMATH OF INCIDENT:

Because, of the excessive force by officers, | received a swollen eye, a (cut/gash) on the nose, scar
remains, (cut/gash) on both wrist, lost feeling in left thumb for months. (app. Missed/incarceration).
The disposition of the case portrayed me to be a violent offender, so parole violated me, and | sat up
fighting the criminal and parole case for 5 months. They backed out on trial 3 times, | was forced to take
the (acd) on November 18" 2013 because, they didn’t want to give the straight dismissal, and there was
a deadline on the parole case, they released me on December 26", because of the (acd).

INTEND TO PROVE:

He lied about the circumstances of the case, about my violent behavior, and they put trumped up fake
charges on me which got me violated. They also violated my constitutional rights.

SUING FOR:

§ 3 Million dollars in compensation, and punitive damages, also for worker’s comp., pain & suffering,
and for the progress, and lost time because negligent , and foul-play by officers, | was also in school, and:
trade school at the time.

